             Case 2:16-cr-00189-KJM Document 141 Filed 01/24/19 Page 1 of 2



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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         2:16-CR-00189-KJM
12                 Plaintiff,
                                                       PRELIMINARY ORDER OF
13          v.                                         FORFEITURE
14   LEONARD YANG,
15                 Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Leonard Yang it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 21 U.S.C. § 853(a), defendant Leonard Yang’s interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according to

21 law:

22                 a.      Approximately $168,916.55 seized from Bank of America Savings Account

23                         Number 483063304917.

24          2.     The above-listed property was used or intended to be used to commit or to promote the

25 commission of violation of 21 U.S.C. § 841(a)(1).

26          3.     Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to seize

27 the above-listed property. The aforementioned property shall be seized and held by the U.S. Marshals

28 Service, in its secure custody and control.
                                                         1
                                                                               Preliminary Order of Forfeiture
              Case 2:16-cr-00189-KJM Document 141 Filed 01/24/19 Page 2 of 2



 1          4.      a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall publish

 2 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 3 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 4 posted for at least 30 consecutive days on the official internet government forfeiture site

 5 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice to

 6 any person known to have alleged an interest in the property that is the subject of the order of forfeiture as

 7 a substitute for published notice as to those persons so notified.

 8                  b.      This notice shall state that any person, other than the defendant, asserting a legal

 9 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

10 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

11 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

12          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

13 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

14 addressed.

15          SO ORDERED this 23rd day of January 2019.

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                                                         UNITED STATES DISTRICT JUDGE
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                                                                                    Preliminary Order of Forfeiture
